Case 5:19-cv-00192-JPB Document171 Filed 10/02/19 Page lofi PagelID#: 1245

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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5:19-cv-192 Bailey 10, FROM 9/20/2019 [11.7o_ 9/20/2019
12. CASE NAME LOCATION OF PROCEEDINGS
USA ex rel. Longo v. Wheeling Hospital, et al. 13. city Wheeling | 14. STATE WV
15. ORDER FOR
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[x] NON-APPEAL [J ctvit [7] In FORMA PAUPERIS [_] oTHER
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